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 5
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 6   CLARISSA A. OGO
 7
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12
     THE UNITED STATES OF             )            2:04-cr-00374-MCE
13   AMERICA,                         )
                                      )            ORDER
14              Plaintiff,            )
                                      )
15   v.                               )
                                      )
16   CLARISSA A. OGO,                 )
                                      )
17              Defendant.            )
     ________________________________ )
18
19         Based upon the stipulation of the parties, IT IS HEREBY ORDERED that the
     motion to correct of defendant Clarissa A. Ogo may be filed on November 16, 2006.
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     DATE: November 17, 2006
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23                                           ___________________________________
                                             MORRISON C. ENGLAND, JR
24
                                             UNITED STATES DISTRICT JUDGE
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